Case 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 1 of 11




              EXHIBIT C
10/6/21, 11:37 AM                              CA correctional officer, prison whistleblower dies by suicide | The Sacramento Bee
                    Case 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 2 of 11




                                                                   HOMEPAGE



        Exclusive: California correctional officer
     alleged cover-ups in prison killings before his
                          death
                                                 BY WES VENTEICHER AND SAM STANTON
                                                          OCTOBER 06, 2021 5:25 AM


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   California State Prison-Sacramento, once known as New Folsom, was opened in 1986 and is adjacent to
   Folsom State Prison, California’s second-oldest correctional facility. CSP-Sacramento houses maximum and
                                              ORDER REPRINT →
   high-security offenders. MICHAEL A. JONES SACRAMENTO BEE FILE



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   A correctional sergeant who worked at a state prison outside Sacramento killed
   himself this summer after reporting corruption, harassment and cover-ups to
   prison officials and attorneys.

   Sgt. Kevin Steele, 56, a member of an in-house detective unit at California State
   Prison, Sacramento, was found dead Aug. 20 on the grounds of a home in Miller
   County, Missouri. The county’s coroner ruled his death a suicide.

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   Early this year, Steele wrote memos to the prison’s warden and the state
   corrections secretary in which he relayed allegations that officers in his unit had
   planted weapons and drugs, falsified documents and played video games at work.
   The Sacramento Bee obtained the memos after his death.

   Steele, at the time of his death, was secretly coordinating with attorneys in two
   lawsuits against the corrections department in cases where he believed evidence
   had been suppressed or faked, according to two lawyers.




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   His was the second recent death within the prison’s Investigative Services Unit, an
   elite group that investigates crimes committed inside the institution. Valentino



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   Rodriguez,Case
              30, a2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 4 of 11
                     member of the same   unit, died of an accidental fentanyl overdose
   at his home in West Sacramento a year ago.

   Both men were harassed, threatened and mistreated by other officers in the unit,
   ultimately driving the men from their jobs and damaging their mental health,
   according to Steele’s memos and texts and notes Rodriguez left on his phone.

   The allegations in Steele’s memos, and his previously confidential statements to
   attorneys, paint a broader picture of misconduct inside the prison known as New
   Folsom than has been reported.

   The prison is a violent, maximum-security institution whose inmate population is
   segregated by gang affiliation and includes a group of offenders with severe
   mental illnesses considered too dangerous for the state’s mental hospitals.

   The institution is facing scrutiny both from the FBI and from the state Department
   of Corrections and Rehabilitation, which have open investigations into alleged
   officer misconduct.


   The FBI cases center on allegations that officers covered up their roles in at least
   two inmate deaths. Steele played a role in drawing attention to one of the deaths,
   in which an inmate who was handcuffed to a chair was stabbed to death,
   according to a January memo he wrote to New Folsom warden Jeffrey Lynch.

   The state, meanwhile, is investigating members of Steele and Rodriguez’s former
   unit. Ten officers from the unit are facing discipline in an inquiry related to
   Rodriguez’s death, CDCR spokeswoman Dana Simas said in an email, and the
   entire unit has been replaced. The agency declined to provide further information.

   “We do take every allegation of misconduct by staff very seriously, and work hard
   to ensure there is accountability when allegations are sustained,” Simas said.

   Steele, as the investigative unit’s criminal prosecution coordinator, worked with
   outside agencies including the Sacramento County District Attorney’s Office to
   build cases against inmates accused of in-prison crimes. He also led evidence
   training courses for new cadets.

   Four officers who worked with him, who spoke with The Bee anonymously for
   fear of retaliation, described Steele as a meticulous professional who was

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            Case 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 5 of 11
   generous with his time and expertise.

   Steele became friends with Rodriguez’s father, Valentino Rodriguez Sr., after
   meeting him at the younger officer’s funeral. Steele helped the elder Rodriguez get
   through a time of intense grief.

   “He was just always there to help me in any way he could,” Rodriguez said. “Him
   and other people from the prison. But of all the people, he was the one who was
   just there for me in so many ways.”

                                                                                                                                    




      Valentino Rodriguez Sr. describes on April 6, 2021, the moment he heard that his son, a former
      correctional officer at Folsom prison who left his job after being hazed, had died. Rodriguez Sr. keeps
      photos of his son at his West Sacramento business. BY DANIEL KIM 

   The harassment suffered from other members of the Investigative Services Unit
   took a toll, Steele wrote in a Jan. 4 memo to New Folsom Warden Lynch.

   He wrote that a colleague called him a “snake” and other co-workers ostracized
   him after he raised concerns about improper management of evidence stored on
   CDs, and the mistreatment intensified after Rodriguez’s death.

   He wrote a second memo, dated Feb. 8 and addressed to CDCR Secretary Kathleen
   Allison, accusing prison leaders of responding with “indifference” to his reports of
   misconduct and to the “victimization” of Rodriguez.

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   He left theCase 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 6 of 11
               Sacramento    area for Missouri the same month. He was out on leave,
   said Rodriguez and officers who knew him, while remaining employed by the
   corrections department.

   On Feb. 12, the prison banned him from its premises. A memo posted to the prison
   gate did not say why.

   Employees at the prison assumed prison officials banned Steele to retaliate against
   him, according to two officers who spoke with The Bee anonymously.

   Simas, the department spokeswoman, said in an email that Steele was banned due
   to a misconduct investigation of him. She said the department “disputes any
   allegations that this safety and security action was the result of whistleblower
   retaliation.”

   At the end of his February memo, Steele, an Air Force veteran, said he had a clean
   service record and was committed to integrity.

   “I am NOT a disgruntled employee seeking vengeance,” Steele wrote. “Instead, I
   was a witness to an ISU which became engulfed in corruption and watched as
   integrity was forced to cower in terror and fear of retaliation!”

   ‘ROGUE OFFICERS AT CSP-SACRAMENTO’

   Investigations have been expanding at the prison since at least last fall.

   In November, federal prosecutors charged two New Folsom correctional officers
   with falsifying records in connection with the 2016 death of a 65-year-old inmate
   who allegedly was tripped by one of the officers while walking with his hands
   cuffed behind his back.

   The FBI has been investigating claims that officers helped arrange the brutal 2019
   stabbing of an inmate who was cuffed to a chair, law enforcement sources have
   confirmed to The Bee. They allegedly allowed inmates to conduct a “practice run”
   a week before the killing, according to federal court filings from a defense lawyer.

   Attorney John Balazs, who is representing a member of a white supremacist
   prison gang in a racketeering case, confirmed to The Bee that Steele was the
   “confidential source” described in federal court documents he has filed. Balazs
   cited his source — Steele — in claims related to the practice-run killing.

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   In his January  memo, Steele suggested he brought “inconsistencies” related to the
   initial account of that slaying to the attention of supervisors, supported with
   recorded interviews.

   Balazs has been arguing that the prison isn’t safe for his client, Brant Daniel.

   Among other things, Daniel faces allegations that he planned to kill a guard using
   a shank that was found in his cell. Those allegations are false, Balazs said in court
   filings, citing the confidential source that he says was Steele.

   An April filing from Balazs and another attorney expanded on Steele’s allegations,
   citing him as “CS.”

   “The CS has advised that rogue officers at CSP-Sacramento have planted weapons
   and drugs in inmates’ cells in order to obtain more overtime, have spread false
   rumors and relayed confidential information from inmates’ files to other inmates
   in violation of CDCR policy, and on at least two occasions have been directly
   involved in the killing of a CSP-Sacramento inmate,” the filing said.

   Simas, the corrections department spokeswoman, didn’t directly respond to
   questions about the allegations in Daniel’s case. Prosecutors have downplayed the
   accusations, calling much of the confidential source’s information second-hand.

   TAPED AND WRITTEN CONFESSION

   In a separate civil lawsuit, Steele as a confidential source told an attorney that
   critical evidence had been suppressed related to an inmate’s death, according to
   Beverly Hills lawyer Steve Glickman.

   CDCR has said inmate Milton Beverly, 29, who was serving a 75-year-to-life
   sentence for conspiracy to commit murder, killed himself in his cell on Nov. 29,
   2016. Glickman has been litigating a wrongful death lawsuit on behalf of Beverly’s
   family in Sacramento Superior Court.


   Sgt. Kevin Steele, a 20-year veteran of the California Department of Corrections and Rehabilitation, died by
   suicide in August 2021 after reporting alleged misconduct to a warden, the state corrections secretary and
   attorneys suing the state in wrongful death lawsuits. PHOTO COURTESY OF VALENTINO RODRIGUEZ SR.


   Steele told him another inmate confessed on video and in writing to killing
   Beverly after a fight over Beverly’s phone usage, Glickman said.
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   Steele’s jobCase 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 8 of 11
                included   transmitting evidence to the attorney, but when he was
   looking through the materials to hand over, he noticed the confessions were
   missing, Glickman said.

   “Steele said that he went to the warden and reported that the material was
   missing,” Glickman said.

   Steele told the attorneys he was willing to publicly testify, and was scheduled to do
   so June 18. But the hearing was delayed after the state Attorney General’s Office
   told Glickman they needed to provide alternative counsel for the deposition.

   The deposition was in the process of being rescheduled when Glickman learned
   from a Bee reporter Sept. 2 that Steele was dead.

   Glickman said his wrongful death lawsuit was originally focused on the family’s
   allegations that the corrections department didn’t provide adequate medical care
   to Beverly given his previous suicide attempts.

   But Steele’s allegations changed the focus of the case. “It kind of opened up a
   whole new door of investigation,” he said.

   Simas didn’t directly respond to questions about the allegations in Beverly’s case.

   The corrections department’s report on Beverly’s death said he was found with a
   white bedsheet around his neck and tied to a bedpost of the upper bunk and that
   “a suicide note was found in his property posthumously.”

   The report, dated Jan. 11, 2017, said Beverly had asked his cellmate four weeks
   before his death to help him hang himself, and notes that the night before his
   death his wife told him in a phone call that she was ending their relationship.

   An autopsy conducted by the Sacramento County Coroner’s Office concluded that
   the “decedent hanged himself in his cell” and that he “was alone in the cell when
   the incident occurred.”

   “No evidence of foul play or a struggle was noted on scene,” the report said.

   OFFICER’S MEMOS ALLEGE RETALIATION

   Steele started his correctional career as an officer at San Quentin State Prison in
   2001, according to CDCR. He earned a promotion to sergeant and transferred to

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            Case 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 9 of 11
   New Folsom in 2008, where he joined the Investigative Services Unit in 2015.

   Steele said in the memos that he always alerted his supervisors to misconduct
   before going up the chain or outside the agency.

   “At every single juncture where I discovered something that resembled
   corruption, wrongdoing, exploitation, fraudulency and/or breeches of trust, I
   ALWAYS alerted supervisory staff and institutional leadership, as that is what I
   thought was the desire of both the administrative staff and the Department of
   Corrections and Rehabilitation,” he said in the January memo. “However, it would
   appear that is NOT the desire of either entity.”

   In the memo, Steele said he noticed in September 2019 that some Investigative
   Services Unit officers were handling video evidence in a way that could be
   considered “fraudulent and potentially criminal.”

   The problems revolved around officers inaccurately reporting who had been
   handling and duplicating CDs with evidence on them, according to the memo. The
   divergence from protocol could compromise cases, he wrote. He discussed the
   problems with the officers, according to the memo.

   The other officers ostracized him afterward, he wrote. They greeted one another
   in the mornings but pointedly ignored him when he entered the office, and they
   talked about him behind his back, Steele said in the memo.

   Steele called Rodriguez his friend and “real-life superhero” in the memo. He said
   Rodriguez told him some ISU officers were planting drugs and weapons on
   inmates. Officers planted the items late in the afternoons “in an effort to have to
   work overtime hours to finish the reports,” Steele said in the memo, citing
   Rodriguez.

   Rodriguez died Oct. 21, 2020. Steele met with Lynch the next day, according to his
   February memo to Allison, the corrections secretary.

   “Warden Lynch wanted to know what CO Rodriguez had discussed with me in our
   phone and text messages,” Steele said in the memo. “I was forthcoming in sharing
   explicit details of the abuse and torment experienced by CO V. Rodriguez while
   both employed in ISU and which continued even after he had departed.”


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            Case 2:19-cr-00107-KJM Document 1231-3 Filed 07/22/22 Page 10 of 11
   Steele maintained  near-daily contact with the elder Rodriguez after moving to
   Missouri, sharing memes and quotes from the Bible, and was a source of comfort,
   Rodriguez said.

   After his son died, Rodriguez pored over the texts and notes left on his son’s
   phone, trying to piece together the events leading to his death.

   Lately, he’s been reviewing texts and communications with Steele. And he’s
   missing his friend.

   “In some sense I feel like I lost my son over again,” he said.
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   Sgt. Kevin Steele, a 20-year veteran of the California Department of Corrections and Rehabilitation, died by
   suicide in August 2021 after reporting alleged misconduct to a warden, the state corrections secretary and
   attorneys suing the state in wrongful death lawsuits. PHOTO COURTESY OF VALENTINO RODRIGUEZ SR.




                      WES VENTEICHER                                                                                                916-321-1410



   Wes Venteicher anchors The Bee’s popular State Worker coverage in the newspaper’s Capitol Bureau. He
   covers taxes, pensions, unions, state spending and California government. A Montana native, he reported
   on health care and politics in Chicago and Pittsburgh before joining The Bee in 2018.


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